Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 1 of 133 PageID #: 453




                     EXHIBIT D
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 2 of 133 PageID #: 454
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 3 of 133 PageID #: 455
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 4 of 133 PageID #: 456
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 5 of 133 PageID #: 457
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 6 of 133 PageID #: 458
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 7 of 133 PageID #: 459
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 8 of 133 PageID #: 460
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 9 of 133 PageID #: 461
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 10 of 133 PageID #: 462
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 11 of 133 PageID #: 463
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 12 of 133 PageID #: 464
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 13 of 133 PageID #: 465
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 14 of 133 PageID #: 466
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 15 of 133 PageID #: 467
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 16 of 133 PageID #: 468
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 17 of 133 PageID #: 469
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 18 of 133 PageID #: 470
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 19 of 133 PageID #: 471
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 20 of 133 PageID #: 472
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 21 of 133 PageID #: 473
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 22 of 133 PageID #: 474
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 23 of 133 PageID #: 475
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 24 of 133 PageID #: 476
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 25 of 133 PageID #: 477
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 26 of 133 PageID #: 478
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 27 of 133 PageID #: 479
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 28 of 133 PageID #: 480
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 29 of 133 PageID #: 481
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 30 of 133 PageID #: 482
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 31 of 133 PageID #: 483
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 32 of 133 PageID #: 484
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 33 of 133 PageID #: 485
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 34 of 133 PageID #: 486
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 35 of 133 PageID #: 487
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 36 of 133 PageID #: 488
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 37 of 133 PageID #: 489
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 38 of 133 PageID #: 490
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 39 of 133 PageID #: 491
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 40 of 133 PageID #: 492
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 41 of 133 PageID #: 493
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 42 of 133 PageID #: 494
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 43 of 133 PageID #: 495
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 44 of 133 PageID #: 496
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 45 of 133 PageID #: 497
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 46 of 133 PageID #: 498
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 47 of 133 PageID #: 499
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 48 of 133 PageID #: 500
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 49 of 133 PageID #: 501
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 50 of 133 PageID #: 502
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 51 of 133 PageID #: 503
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 52 of 133 PageID #: 504
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 53 of 133 PageID #: 505
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 54 of 133 PageID #: 506
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 55 of 133 PageID #: 507
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 56 of 133 PageID #: 508
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 57 of 133 PageID #: 509
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 58 of 133 PageID #: 510
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 59 of 133 PageID #: 511
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 60 of 133 PageID #: 512
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 61 of 133 PageID #: 513
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 62 of 133 PageID #: 514
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 63 of 133 PageID #: 515
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 64 of 133 PageID #: 516
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 65 of 133 PageID #: 517
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 66 of 133 PageID #: 518
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 67 of 133 PageID #: 519
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 68 of 133 PageID #: 520
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 69 of 133 PageID #: 521
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 70 of 133 PageID #: 522
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 71 of 133 PageID #: 523
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 72 of 133 PageID #: 524
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 73 of 133 PageID #: 525
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 74 of 133 PageID #: 526
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 75 of 133 PageID #: 527
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 76 of 133 PageID #: 528
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 77 of 133 PageID #: 529
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 78 of 133 PageID #: 530
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 79 of 133 PageID #: 531
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 80 of 133 PageID #: 532
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 81 of 133 PageID #: 533
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 82 of 133 PageID #: 534
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 83 of 133 PageID #: 535
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 84 of 133 PageID #: 536
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 85 of 133 PageID #: 537
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 86 of 133 PageID #: 538
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 87 of 133 PageID #: 539
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 88 of 133 PageID #: 540
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 89 of 133 PageID #: 541
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 90 of 133 PageID #: 542
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 91 of 133 PageID #: 543
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 92 of 133 PageID #: 544
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 93 of 133 PageID #: 545
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 94 of 133 PageID #: 546
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 95 of 133 PageID #: 547
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 96 of 133 PageID #: 548
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 97 of 133 PageID #: 549
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 98 of 133 PageID #: 550
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 99 of 133 PageID #: 551
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 100 of 133 PageID #: 552
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 101 of 133 PageID #: 553
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 102 of 133 PageID #: 554
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 103 of 133 PageID #: 555
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 104 of 133 PageID #: 556
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 105 of 133 PageID #: 557
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 106 of 133 PageID #: 558
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 107 of 133 PageID #: 559
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 108 of 133 PageID #: 560
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 109 of 133 PageID #: 561
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 110 of 133 PageID #: 562
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 111 of 133 PageID #: 563
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 112 of 133 PageID #: 564
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 113 of 133 PageID #: 565
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 114 of 133 PageID #: 566
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 115 of 133 PageID #: 567
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 116 of 133 PageID #: 568
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 117 of 133 PageID #: 569
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 118 of 133 PageID #: 570
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 119 of 133 PageID #: 571
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 120 of 133 PageID #: 572
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 121 of 133 PageID #: 573
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 122 of 133 PageID #: 574
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 123 of 133 PageID #: 575
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 124 of 133 PageID #: 576
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 125 of 133 PageID #: 577
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 126 of 133 PageID #: 578
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 127 of 133 PageID #: 579
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 128 of 133 PageID #: 580
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 129 of 133 PageID #: 581
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 130 of 133 PageID #: 582
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 131 of 133 PageID #: 583
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 132 of 133 PageID #: 584
Case 1:22-cv-01466-MN Document 1-4 Filed 11/07/22 Page 133 of 133 PageID #: 585
